           Case 3:17-cv-00589-SRU Document 117 Filed 10/28/19 Page 1 of 7


                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT
JASON BOUDREAU                       )

v.
         Plaintiff


DOUG SMITH, JAMES BENTZ,
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                                         Case No. 3:17-cv-00589 (SRU)
DAVID RICCIO, BRENDAN CULLEN         )
________________
         Defendants                  )                         Orr2r:o .ZU      .-.~~9
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                                                               • '--,. ·-··-· -· -1_. ,   -hrn .HA~'Hi
     PLAINTIFF'S MOTION TO ALLOW PRODUCTION OF TOUHY REQUESTS RELATED
                  TO THE DEFENDANTS MISSING TEXT MESSAGES
     Now comes the Plaintiff, Jason Boudreau, and hereby moves this Honorable

Court for allowing the production of Touhy requests related to the Defendants

missing text messages. In support, the Plaintiff states the following:

                                   ARGUMENT

     Although discovery has closed, there remain discovery motions outstanding.

In August 2019 the Court granted the Plaintiff's motion to compel and

ordered the production of Defendant Brendan Cullen's text messages. The
Defendant responded by stating that the text messages were lost due to a

alleged cell phone carrier switch in February 2016 for all Department of

Homeland Security employees. The alleged carrier switch was never disclosed

prior to September 2019 despite numerous discovery requests related to the

text messages.

     In the Defendant's objection to the Plaintiff's motion for sanctions,

he attached a "notice of Preservation" letter from DHS legal cousel. In that

letter, several instructions were given, including documenting any evidence
preservation and/or recovery actions. Also, the Defendant did not provide

any documentation on the alleged carrier switch, the disposition of his

December 2015 cell phone, DHS record retention policies, or DHS electronically

 stored information retention policies. Further, the Defendant did not provide




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           Case 3:17-cv-00589-SRU Document 117 Filed 10/28/19 Page 2 of 7



any documentation regarding any attempts to recover the text messages from

the cell phone service provider or from DHS's systems or files. The Plaintiff

also seeks documentation regarding what data was transferred from the old

cell phones to the new cell phones during the carrier switch, as it would

seem unlikely that DHS would allow all data from all of its employees "old"

phones to be destroyed forever with no backup of the data.
    Atta~hed as Exhibit 1 is the Plaintiff's Touhy requests that will be

propounded on the Department of Homeland Security for the Court's review.

The Plaintiff respectfully requests that discovery be re-opened for the

limited purpose to allow production of the requested Touhy documentation.



                                       Respectfully Submitted,

                                               IL
                                       Jason Boudreau
                                       #10950070
                                       Donald W. Wyatt Detention Facility
                                       950 High Street
                                       Central Falls, RI 02863

                                   CERTIFICATION
I, Jason Boudreau, hereby certify that I mailed a copy of this document to
attorney Michelle Mcconaghy, U.S. Attorney Office, 157 Church Street,
25th Floor, New Haven, CT 06510 on October 22, 2019


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J as on Boudreau




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Case 3:17-cv-00589-SRU Document 117 Filed 10/28/19 Page 3 of 7
          Case 3:17-cv-00589-SRU Document 117 Filed 10/28/19 Page 4 of 7



October 19, 2019

Jason Boudreau
#10950070
Donald W. Wyatt Detention Facility
950 High Street
Central Falls, RI 02863

U.S. Dept. of Homeland Security
Office of the Principal Legal Advisor
Attn: Jon Kaplan
500 12th Street
Room 9060
Washington, DC 20536

RE: Boudreau v. Smith, et al
    Case No. 17-cv-00589 (SRU)
    Touhy Requests

Dear Mr. Kaplan,

    I am requesting the following information and documentation for the
above referenced case in accordance with the Touhy regulations.

Request no. 1: All Homeland Security policies related to the retention of
documents and electronically stored information ("ESI"). This information is
relevant as it pertains to whether or not ESI was properly preserved in
this case, as issues have arisen regarding missing ESI.


Request No. 2: All documentation related to the preservation of evidence
as instructed in your Notice of Preservation of Evidence letter dated
September 7, 2017. Your letter stated "You are also advised to document the
specific actions your office takes in response to this letter." I am
specifically looking for all documents related to the specific actions
anyone took to preserve any evidence, specifically ESI in this case. This
information is relevant as it pertains to whether or not ESI was properly
preserved in this case, as issues have arisen regarding missing ESI.


Request No. 3: All documents related to any search for text messages from
the Defendants cell phones at any time during this case, including
documentation from the cell phone service providers, or other documentation.




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           Case 3:17-cv-00589-SRU Document 117 Filed 10/28/19 Page 5 of 7



related to the attempted recovery of the text messages. This information is
relevant as it pertains to whether or not ESI was properly preserved in this
case, as issues have arisen regarding missing ESI.


Request No. 4: All docuemnts that pertain to the cell phone carrier switch
in February 2016, including when the switch occurred, what happened to the
Defendants DHS cell phons, what happened to all of the data on those phones
during the switch, as well as documents related to the make and model of
the Defendants cell phones before the switch and after the switch. I am also
seeking documents related to any data preservation letters, memoranda,
notes, etc. that gave instructions as to how and when any data on the cell
phones would be backed up. This information is relevant as it pertains to
whether or not ESI was properly preserved in this case, as issues have
arisen regarding missing ESI.


Request No. 5: All documents that pertain to data backup/retrieval when a
DHS employee receives a new cell phone. This information is relevant as it
pertains to whether or not ESI was properly preserved in this case, as
issues have arisen regarding missing ESI.


Request No. 6: All retention policies for text messages on DHS employee
phones. This information is relevant as it pertains to whether or not ESI
was properly preserved in this case, as issues have arisen regarding missing
ESI.


Request No. 7: All documents related to the disposition of any text messages
sent or received on December 29, 2015 from agent Doug Smith, or David
Riccio's DHS cell phones. This information is relevant as it pertains to
whether or not ESI was properly preserved in this case, as issues have arisen
regarding missing ESI.


Request No. 8: All documents related to any steps the Defendants took to
preserve evidence after you issued your September 7, 2017 letter regarding
preservation of evidence. This information is relevant as it pertains to
whether or not ESI was properly preserved in this case, as issues have arisen
regarding missing ESI.



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          Case 3:17-cv-00589-SRU Document 117 Filed 10/28/19 Page 6 of 7


Request No. 9: All documents and ESI related to any action that the Chief
Information Officer took to preserve and/or recover any evidence, including
ESI, that pertained to this case. This information is relevant as it pertains
to whether or not ESI was properly preserved in this case, as issues have
arisen regarding missing ESI.


Request No. 10: All documents and ESI related to any preservation and/or
recovery of evidence by DHS and/or the Defendants that pertains to the
Plaintiff's criminal case, including any notices issued that instructed the
Defendants or others to preserve evidence for that case, any steps taken
by anyone at ICE/DHS to preserve and/or recover evidence relevant to that
case. Documents should also include any notice that the U.S. Attorney's
Office or ICE/DHS provided to the Plaintiff's criminal attorney regarding
any and all missing evidence, including the Defendants text messages. This
informatio nis relevant as it pertains to whether or not ESI was properly
preserved in this case, as issues have arisen regarding missing ESI.


Request No. 11: All e-mails sent or received by DHS Legal advisor Jon Kaplan
that pertain to the Plaintiff's January 2016 Notice of Intent to Sue Letter.
I am only seeking emails in 2016. In your sworn declaration you stated that
'!I received an e-mail from the ICE Homeland Security Investigations field
office in Warwick, Rhode Island, that it had received a January 12, 2016
letter by Mr. Boudreau ... " I am seeking those emails and any others that
pertain to that letter, including your responsive emails. This information
is relevant as it pertains to whether or not ESI was properly preserved in
this case, as issues have arisen regarding missing ESI.


Request No. 12: All documents, including policies and procedures related to
the "Widepoint portal" that pertains to cell phone records, including but
not limited to photos, text messages, videos, emails, and call logs. This
information is relevant as it pertains to whether or not ESI was properly
preserved in this case, as issues have arisen regarding missing ESI.




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             Case 3:17-cv-00589-SRU Document 117 Filed 10/28/19 Page 7 of 7



    I greatly appreciate your assistance with these document requests. Please
let me know if you need any further informatio nregarding these requests.


Sincerely,

  v:_/\---
Ja s on Boudreau




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